Case 1:20-cv-03274-KLM Document 24 Filed 02/05/21 USDC Colorado Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

Civil Action No. 1:20-cv-3274-KLM

CARLOS ALBERTO CASTILLO LANDA, Individually and on Behalf of All Others Similarly
Situated,
        Plaintiff,

vs.

WESTERN UNION, LLC,
     Defendant.


                                       STIPULATED ORDER


       The production of privileged or work-product protected documents, electronically stored

information (“ESI”) or information, whether inadvertently or otherwise, is not a waiver of the

privilege or protection from discovery in this case or in any other federal or state proceeding. This

Stipulated Order shall be interpreted to provide the maximum protection allowed by the Federal

Rules of Evidence 502(d).

       Nothing contained herein is intended to or shall serve to limit a party’s right to conduct a

review of documents, ESI or information (including metadata) for relevant, responsiveness and/or

segregation of privileged and/or protected information before production.

/s/ April Rhéaume                      /s/ Joshua B. Kirkpatrick
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                                               Page 1 of 2
                       Carlos Alberto Castillo Landa, et al. v. Western Union, LLC
                               U.S.D.C. (D. Colo.) No. 1:20-cv-3274-KLM
                                            Stipulated Order
Case 1:20-cv-03274-KLM Document 24 Filed 02/05/21 USDC Colorado Page 2 of 2




     SO ORDERED.

     Dated: 05August
               Feb 2021
                     25, 2012              Hon. Kristen L. Mix
                                           United States Magistrate Judge




                                          Page 2 of 2
                  Carlos Alberto Castillo Landa, et al. v. Western Union, LLC
                          U.S.D.C. (D. Colo.) No. 1:20-cv-3274-KLM
                                       Stipulated Order
